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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

UNITED STATES OF AMERICA,                )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )          Case No. 4:14 CR 250 CDP-7
                                         )
CHAD COLLINS,                            )
                                         )
      Defendant.                         )

                                     ORDER

      This matter is before the Court on defendant Chad Collins’ pretrial motions.

All pretrial motions were referred to United States Magistrate Judge Terry I.

Adelman under 28 U.S.C. § 636(b). Judge Adelman held an evidentiary hearing

on February 25, 2015, and thereafter filed his Report and Recommendation, which

recommended denying the motions. Defendant Collins has objected to Judge

Adelman’s recommendation that his motion to suppress identification testimony

and his motion to sever be denied.

      I have conducted de novo review of all matters relevant to the motions,

including reading the transcript of the hearing, and I conclude that Judge

Adelman’s recommendations are correct in all regards. The photo identification

procedure used here was not unduly suggestive. More importantly, the evidence

established that the witness had not just seen the defendant on one occasion, but
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instead had dealt with him – either delivering marijuana or collecting large sums

of money – on numerous occasions. The witness knew the defendant, he just did

not know the defendant’s name. There is no basis for suppressing the

identification evidence. Additionally, defendant has not provided any specific

reason that his trial should be severed from that of his co-defendants, as Judge

Adelman correctly demonstrated in his order on the motions to sever.

      After fully considering the motions and the Report and Recommendation,

the Court will overrule the objections, and will adopt and sustain the thorough

reasoning of Magistrate Judge Adelman.

      Accordingly,

      IT IS HEREBY ORDERED that the Reports and Recommendation of the

United States Magistrate Judge [#379, # 404] are SUSTAINED, ADOPTED, and

INCORPORATED herein.

      IT IS FURTHER ORDERED that defendant Chad Collins’ motion to

suppress identification evidence [#312] and his motion to sever [#313] are denied.



                                       ____________________________
                                       CATHERINE D. PERRY
                                       UNITED STATES DISTRICT JUDGE

Dated this 15th day of May, 2015.

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